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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE Mfth &CT OF ALABAMA

                        7011 MAR I 5 A II   :   28

Full name and
of plaintiff(s)

V.                                                   CIVIL ACTION NQ%JEU        M1L1\
                                                     (To be supplied by: the clerk
L.,1 /t)/J&                        .    )            of U.S District. Court)



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1 /IMdeAI £1
Name of person(s) who violated
your constitutional rights.
 (List the names of all the
persons..)

I.   PREVIOUS LAWSUITS
     A.   Have you begun other lawsuits in state or federal
          court dealing with the same or similar facts involved
          in this action? YES( ) NO(

     B.    Have you begun other lawsuits in state or federal
           court relating to your imprisonment? YES( ) NO(

     C.    If your answer to A or B is yes, describe each lawsuit
           in the space below. (If there is more than. one lawsuit,
           describe the additional lawsuits on another piece of
           paper, using the same outline.)

           1.     Parties to this previous lawsuit:

                  Plaintiff (s)




                  Court (if federal cOurt, name theistrict; if
                  state court, name the county) 7.,.




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          3.    Docket number
          4.    Name of judge to whom case was assigned

          5.    Disposition(for example: Was the case dismissed?
                Was it appealed? Is it still pending?)     ________



          6.    Approximate date of filing lawsuit

          7.    Approximate date of disposition

II. PLACE OF PRESENT CONFINEMENT       (3hi315   tiilk'

                    é-(,4A4M?Jrn
     PLACE OF INSTITUTION WHERE INCIDENT OCCURRED



III. NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
     CONSTITUTIONAL RIGHTS.

                NAME                       ADDRESS
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     4.      'ee   /j)e,qMeL       O A JL7is15//1/wi1yD. i1m4)4.3ovz5

     5.
     6.                                                      ..
IV. THE DATE UPON WHICH SAID VIOLATION OCCURRED           744J4/&fj,T,07

V. STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
     THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:

     GROUND ONE: 1312/ ,q/g     i/eAe. V/p /eda,jde,z The- '11, 9




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STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as
best you can the time, place and manner and person involved.)
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GROUND TWO:                        -


SUPPORTING FACTS:                               ._




GROUND THREE:                          --                                   -


SUPPORTING FACTS:                                                      :.




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                 Case 2:17-cv-00149-RAH-SRW Document 1 Filed 03/15/17 Page 6 of 7
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             VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
                  MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.

                 z - I$IJA 7/ , '                         '4/eyMl9f 41fj7/,L

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                                                         5(                 O.
                                                Signature of plaintiff(s)

                 I declare under penalty of perjury that the forego±ng is true
             and correct.


                 EXECUTED on 3 -17
                                  (Date)



                                                 c     s
                                                Signature of plaintiff(s)




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